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11
                            UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
       ASHLEY JUDD, an individual,             Case No.: 2:18-cv-05724 PSG (FFMx)
14

15                            Plaintiff,       DEFENDANT HARVEY
                                               WEINSTEIN’S NOTICE OF
16
                       v.                      MOTION AND MOTION TO STAY
17

18     HARVEY WEINSTEIN, an                    Date: March 4, 2019
       individual,                             Time: 1:30 p.m.
19                                             Courtroom: 6A
20                            Defendant.
21

22          PLEASE TAKE NOTICE that, on March 4, 2019, at 1:30 p.m. in the
23    Courtroom of the Honorable Philip S. Gutierrez, First Street Courthouse, 350 West
24    First Street, Courtroom 6A, 6th Floor, Los Angeles, CA 90012-4565, Defendant
25    Harvey Weinstein, by and through his counsel of record, will move the Court to
26    stay this proceeding.
27          Defendant’s motion is based on this notice of motion and motion, the
28    accompanying memorandum of law in support of Defendant’s motion, the



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       DEFENDANT HARVEY WEINSTEIN’S NOTICE OF MOTION AND MOTION TO STAY
     Case 2:18-cv-05724-PSG-FFM Document 48 Filed 01/07/19 Page 2 of 2 Page ID #:670



1
      accompanying Declarations of Benjamin Brafman, Esq. and Phyllis Kupferstein,
2
      Esq., and all facts and circumstances upon which the Court may take judicial notice.
3
            This motion is made following the conference of counsel pursuant to L.R. 7-
4
      3, which took place on December 18, 2018.
5

6
      Dated: January 7, 2019                       KUPFERSTEIN MANUEL LLP
7

8                                                  /s/ Phyllis Kupferstein
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                                                   Attorneys for Defendant
13                                                 Harvey Weinstein
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       DEFENDANT HARVEY WEINSTEIN’S NOTICE OF MOTION AND MOTION TO STAY
